          Case 5:16-cv-01094-FB          Document 79       Filed 07/23/19      Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

SKY TOXICOLOGY, LTD.; SKY                          )
TOXICOLOGY LAB MANAGEMENT,                         )
LLC; FRONTIER TOXICOLOGY,                          )
LTD.; FT LAB MANAGEMENT LLC;                       )
HILL COUNTRY TOXICOLOGY, LTD.;                     )
ECLIPSE LAB MANAGEMENT, LLC;                       )
and AXIS DIAGNOSTICS, INC.;                        )
                                                   )
       Plaintiffs,                                 )
                                                   )
V.                                                 )     CIVIL ACTION NO. SA-16-CA-1094-FB
                                                   )
UNITEDHEALTHCARE INSURANCE;                        )
COMPANY; UNITEDHEALTHCARE                          )
OF TEXAS, INC.;                                    )
UNITEDHEALTHCARE OF FLORIDA,                       )
INC.; and UNITEDHEALTHCARE                         )
SERVICES, INC.,                                    )
                                                   )
       Defendants.                                 )

                                     CONSENT JUDGMENT

       Before the Court is the parties’ Joint Motion for Entry of Consent Judgment (“the Motion”).

(DE No. 76.). After careful consideration, the Motion (DE No. 76) is GRANTED as set forth below:

       Upon the consent and agreement of Plaintiffs/Counterclaim-Defendants, Sky Toxicology, Ltd.,

Frontier Toxicology, Ltd., Hill Country Toxicology, Ltd., Eclipse Toxicology, Ltd., Axis Diagnostics,

Inc., Sky Toxicology Lab Management, LLC, FT Lab Management, LLC, and Eclipse Toxicology Lab

Management, LLC (collectively, the “Plaintiffs”) and Defendants/ Counterclaim-Plaintiffs,

UnitedHealthcare Insurance Company, UnitedHealthcare of Florida, Inc., UnitedHealthcare of Texas,

Inc., and UnitedHealthcare Services, Inc. (collectively, “United”) (together, Plaintiffs and United are

the “Parties”), through their undersigned counsel, stipulate and agree as follows:
           Case 5:16-cv-01094-FB        Document 79       Filed 07/23/19      Page 2 of 3




         WHEREAS, the Plaintiffs filed a Complaint against United on November 2, 2016. (See DE No.

1.); and

         WHEREAS, United timely filed an Answer and Counterclaims against Hill Country Toxicology,

Ltd., Frontier Toxicology, Ltd., FT Lab Management LLC, Sky Toxicology, Ltd., Sky Toxicology Lab

Management, LLC, Eclipse Toxicology, Ltd., and Eclipse Toxicology Lab Management, LLC on

August 18, 2017 (See DE No. 6.); and

         WHEREAS, the Plaintiffs filed an Amended Complaint against United on September 8, 2017.

(See DE No. 9.); and

         WHEREAS, the Plaintiffs filed a Second Amended Complaint against United on January 10,

2019. (See DE No. 57); and

         WHEREAS, United filed Amended Counterclaims on January 24, 2019. (See DE No. 60.).

         NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

         1. The Plaintiffs’ claims against United are hereby Dismissed with Prejudice.

         2. Judgment is entered in United’s favor on its Amended Counterclaims (see DE No. 60) for a

total of $56,223,216.96 (the “Judgment Amount”), specifically, as follows:

                a. Judgment is entered against Hill Country Toxicology, Ltd. in the amount of

$9,656,221.94, plus post-judgment interest at the rate of 5% per annum, along with costs;

                b. Judgment is entered against Frontier Toxicology, Ltd. and FT Lab Management, LLC

in the amount of $11,151,723.17, plus post-judgment interest at the rate of 5 % per annum, along with

costs;




                                                 -2-
          Case 5:16-cv-01094-FB         Document 79        Filed 07/23/19     Page 3 of 3




               c. Judgment is entered against Sky Toxicology, Ltd. and Sky Toxicology Lab

Management, LLC in the amount of $34,757,087.52, plus post-judgment interest at the rate of 5% per

annum, along with costs; and

               d. Judgment is entered against Eclipse Toxicology, Ltd. and Eclipse Toxicology Lab

Management, LLC in the amount of $658,184.33, plus post-judgment interest at the rate of 5% per

annum, along with costs.

       3. Hill Country Toxicology, Ltd., Frontier Toxicology, Ltd., Sky Toxicology, Ltd., Eclipse

Toxicology, Ltd., and Axis Diagnostics, Inc. are hereby enjoined from submitting claims for laboratory

testing services to United, United’s affiliates, United’s customers, and United’s members.

       IT IS FINALLY ORDERED, ADJUDGED and DECREED that motions pending with the

Court, if any, are Dismissed as Moot and this case is CLOSED.

       It is so ORDERED.

       SIGNED this 23rd day of July, 2019.


                                       _________________________________________________
                                      FRED BIERY
                                      UNITED STATES DISTRICT JUDGE




                                                 -3-
